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IN THE UNITED STATES DISTRICT COURT 'w
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION GSJUH l PM 3'59
ROBEBTFZ S§TRGUO

CLEHK MS.DIT CI
W.D. GF `i”N, MEMPHIS

 

ISABEL BALLESTEROS GALV`EZ,r and
MARVIN ALEXANDER,

Plaintiffs,

)
)
)
)
)
v. ) No. 04-2393 Ml/P
)
wAL-MART sToREs, EAST, L.P., )

)

)

Defendant.

 

ORDER DISMISSING CASE WITHOUT PREJUDICE

 

On April 12, 2005, the Court ordered Plaintiffs to file with
the court and serve on Defendant a current address and phone
number by May l, 2005. (See Order Granting Plaintiff's Motion to
Withdraw as Counsel (Docket No. 14).) Plaintiffs did not comply
with the Court’s April 12, 2005, order.

On June l, 2005, the Court held a telephone conference in
this case. Attempts to contact Plaintiffs were unsuccessful and
therefore Plaintiffs did not participate in the conference.1

Pursuant to the discussion during the Court's June 1, 2005,
telephone conference, and for Plaintiffs’ failure to comply with
the Court’s April l2, 2005, order, this case is DISMISSED without

prejudice. Plaintiffs may move to set aside this dismissal by

 

1 Based upon the record, it appears that Plaintiffs have
abandoned their case.

ThTs document entered on the docket sheet m compliance //é

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filing such a motion including a current address and phone number

within 30 days of the date of entry of this order.

so oRDERED this l day of June, 2005.

_i>‘ fin full

J N P. MCCALLA
U ITED STATES DISTRICT JUDGE

   
 

 

sATTES DISTRIT oURT ESNTER ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:04-CV-02393 Was distributed by faX, mail, or direct printing on
June 2, 2005 to the parties listed.

 

 

R. Alan Pritchard

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

